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                   EXHIBIT A
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13
                                    UNITED STATES DISTRICT COURT
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15                                  NORTHERN DISTRICT OF TEXAS

16
17     RANDALL McGEE and PHIL EISEN, on                Case No:
       behalf of themselves and all others similarly
18
       situated,                                       CLASS ACTION COMPLAINT
19
                      Plaintiffs,
20                                                     CLASS ACTION
       vs.
21                                                     JURY TRIAL DEMANDED
22     AT&T, INC.

23                    Defendant.

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 1             Plaintiffs Randall McGee and Phil Eisen (“Plaintiffs”), by and through their attorneys,

 2    complain and allege as follows:

 3                                             INTRODUCTION

 4             1.      This action arises out of AT&T’s failure to secure its customers’ sensitive personal

 5    information. These individuals’ private details, including names, social security numbers, and

 6    more, have now been made available for sale to criminals on the dark web for years. AT&T’s failure

 7    to take reasonable steps to secure this personally identifiable information (“PII”)—along with its

 8    delay of almost three years before notifying the victims—will result in identity theft, out-of-pocket

 9    loss, and the understandable distress that a person’s private information is now in the hands of

10    criminal hackers.

11             2.      Defendant AT&T is a multinational telecommunications company that provides a

12    wide range of services including landline telephone, mobile telephone, broadband internet, and

13    television services. AT&T promises its customers in a Privacy Notice that it will “work hard to

14    safeguard your information using technology controls and organizational controls,” that AT&T

15    “protect[s] our computer storage and network equipment,” and that AT&T “limit[s] access to

16    personal information to the people who need access for their jobs.”1

17             3.      As early as 2021, however, threat actors listed AT&T customers’ data for sale on

18    the dark web, though AT&T repeatedly denied that its systems had been breached. AT&T now

19    acknowledges that at least 51 million—and potentially over 73 million—current and former

20    customers were impacted, and that the exposed information includes full names, email addresses,
21    mailing addresses, phone numbers, social security numbers, dates of birth, AT&T account numbers,

22    and AT&T passcodes.

23             4.      AT&T has since provided notices to its customers, acknowledging that based on its

24    investigation to date, the data appears to be from June 2019 or earlier. But AT&T has not disclosed

25    how the data was stolen or why it took almost three years to confirm the data in question belonged

26    to its customers so it could provide notice.
27
28
      1
          https://about.att.com/privacy/privacy-notice.html#data-retention (last visited April 17, 2024).
                                                       1                           CLASS ACTION COMPLAINT
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 1           5.      As a result of AT&T’s failure to honor its contractual commitment to consumers,

 2    Plaintiffs and the Class face a heightened, imminent risk of harm in the future. Plaintiffs and the

 3    Class must now incur the expense and inconvenience of monitoring their financial accounts and

 4    credit histories to guard against the increased risk of identity theft, and will incur out-of-pocket

 5    costs for obtaining credit reports, credit freezes, credit monitoring services, and other protective

 6    measures in order to detect, protect, and repair the data breach’s impact on their lives.

 7           6.      This is a class action brought on behalf of a nationwide Class of persons whose

 8    information was accessed as a result of AT&T’s failure to adequately protect individuals’ PII and

 9    failure to effectively monitor its platform for security vulnerabilities. Plaintiffs bring causes of

10    action for breach of contract and negligence. Plaintiffs also bring this action on behalf of a subclass

11    of consumers residing in California for violation of California’s Consumer Privacy Act, Cal. Civ.

12    Code § 1798.150, violation of California’s Customer Records Act, Cal. Civil Code §§ 1798.80, et

13    seq., and violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et

14    seq.

15           7.      Plaintiffs seek damages stemming from at least the following:

16                   a.      Loss of value of personal information;

17                   b.      Out-of-pocket expenses;

18                   c.      Benefit of the bargain loss; and

19                   d.      Punitive damages.

20                                                 PARTIES
21           8.      Plaintiff Randall McGee resides in Los Angeles, California. On March 30, 2024,

22    he was notified by AT&T that his personal information was compromised in the AT&T data breach.

23           9.      Plaintiff Phil Eisen resides in Los Angeles, California. On March 30, 2024, he was

24    notified by AT&T that his personal information was compromised in the AT&T data breach.

25           10.     Defendant AT&T, Inc. is headquartered at 208 South Akard Street, Dallas, Texas

26    75202, and may be served via their registered agent CT Corporation System, 1999 Bryan Street,
27    Ste. 900, Dallas, Texas 75201.

28

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 1                                      JURISDICTION AND VENUE

 2           11.     This Court has subject matter jurisdiction over this action under 28 U.S.C. §§

 3    1332(d) because this is a class action wherein the amount in controversy exceeds $5,000,000, there

 4    are more than 100 members in the proposed Class, and at least one member of the Class is a citizen

 5    of a state different from defendant AT&T.

 6           12.     This Court has personal jurisdiction over AT&T because AT&T is headquartered in

 7    Texas and has purposefully availed itself of the rights and benefits of Texas, including providing

 8    services throughout the United States, including in this District; conducting substantial business in

 9    this District; and having a registered agent to accept service of process in this District.

10           13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

11    substantial part of the events giving rise to the claim occurred in, were directed to, or emanated

12    from this District. Venue is also proper pursuant to 28 U.S.C. § 1391(b)(1) and (c)(2) because

13    AT&T is subject to the Court’s personal jurisdiction in this District.

14                                       FACTUAL ALLEGATIONS

15           A.      AT&T’s Business

16           14.     AT&T is one of the largest telecommunications companies in the world, operating

17    in wireless services, wireline services, media and entertainment, business solutions and advertising.

18    AT&T’s wireless network reaches more than 210 million people with its nationwide mid-band 5G

19    network to offer, according to it, faster speeds and an enhanced experience on the nation’s most

20    reliable 5G network.
21           15.     AT&T collects PII from its customers. It notifies its customers, through an online

22    Privacy Notice available on its website, that “[t]o better run our business, we collect information

23    about you, your equipment and how you use products and services.”2 This information includes

24    contact and billing information, equipment information including phone numbers, location

25    information, web browsing and app information, biometric information such as fingerprints, voice

26    prints, and face scans, and third-party information like credit reports. AT&T acknowledges that
27
28    2
        https://about.att.com/privacy/privacy-notice.html#collect-information (last visited April 17,
      2024).
                                                    3                         CLASS ACTION COMPLAINT
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 1    “[a]ll these types of information are considered Personal Information when they can reasonably be

 2    linked to you as an identifiable person or household.”3

 3              16.    AT&T publicly states in its 2023 Form 10-K that it maintains “a network and

 4    information security program that is reasonably designed to protect our information, and that of our

 5    customers, from unauthorized risks to their confidentiality, integrity, or availability.”

 6              17.    In its Privacy Notice, AT&T promises customers that it “work[s] hard to safeguard

 7    your information using technology controls and organizational controls,” “protect[s] our computer

 8    storage and network equipment,” “require[s] employees to authenticate themselves to access

 9    sensitive data,” and “limit[s] access to personal information to the people who need access for their

10    jobs.”4

11              B.     The Data Breach

12              18.    News of the data breach at issue (the “Data Breach”) first surfaced in August 2021.

13    A hacking group called ShinyHunters posted data dating back to 2019 on the dark web, comprising

14    7.6 million current AT&T customers and 65.4 million former account holders, listed for sale at $1

15    million. At the time, AT&T denied that its customers’ data had been compromised.5

16              19.    Three years later, AT&T began notifying customers on March 30, 2024, of the Data

17    Breach. The notice letter said:

18              We take cybersecurity very seriously and privacy is a fundamental commitment at
                AT&T. We have discovered that your AT&T account passcode has been
19              compromised, therefore we have proactively reset your passcode. Our internal
                teams are working with external cybersecurity experts to analyze the situation. It
20              appears the data is from more than 4 years ago and does not contain personal
                financial information or call history.
21
                What information was involved? The information varied by customer and
22              account, but may have included full name, email address, mailing address, phone
                number, social security number, date of birth, AT&T account number and passcode.
23              If your sensitive personal information was compromised, we will provide
                complimentary identity theft and credit monitoring services.
24
                What is AT&T doing? We’ve taken precautionary measures and reset your
25              passcode, which is an extra layer of protection for your account. When you sign in
                to your online account or call customer care, we’ll provide details to help you
26              personalize your passcode.
27    3
        Id.
      4
28      https://about.att.com/privacy/privacy-notice.html#data-retention (last visited April 17, 2024).
      5
             https://www.bleepingcomputer.com/news/security/atandt-denies-data-breach-after-hacker-
      auctions-70-million-user-database/ (last visited April 17, 2024).
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 1           What can you do? In addition to resetting your AT&T passcode, we encourage
             customers to remain vigilant by monitoring account activity and credit reports. You
 2           can set up free fraud alerts from nationwide credit bureaus — Equifax, Experian,
             and TransUnion. You can also request and review your free credit report at any time
 3           via Freecreditreport.com.

 4           More Information Visit www.att.com/accountsafety for more information and
             updates.
 5
             We apologize this has happened and are committed to keeping your account secure.
 6
 7           20.    AT&T has not disclosed any information about the vulnerability that led to the

 8    breach. Upon information and belief, AT&T did not use reasonable security procedures and

 9    practices appropriate to the nature of the sensitive information it was collecting and retaining.

10    Indeed, one security researcher cracked the encryption to the leaked users’ passcodes because

11    AT&T encrypted them with insufficient randomness in a manner that was easy for hackers to

12    decrypt.6

13           21.    AT&T released a statement following the data breach that described the incident

14    this way:7

15           AT&T* has determined that AT&T data-specific fields were contained in a data set
             released on the dark web approximately two weeks ago. While AT&T has made this
16           determination, it is not yet known whether the data in those fields originated from
             AT&T or one of its vendors. With respect to the balance of the data set, which
17           includes personal information such as social security numbers, the source of the data
             is still being assessed.
18
             AT&T has launched a robust investigation supported by internal and external
19           cybersecurity experts. Based on our preliminary analysis, the data set appears to be
             from 2019 or earlier, impacting approximately 7.6 million current AT&T account
20           holders and approximately 65.4 million former account holders.
21           Currently, AT&T does not have evidence of unauthorized access to its systems
             resulting in exfiltration of the data set. The company is communicating proactively
22           with those impacted and will be offering credit monitoring at our expense where
             applicable. We encourage current and former customers with questions to
23           visit www.att.com/accountsafety for more information.

24           As of today, this incident has not had a material impact on AT&T’s operations.

25
26
27    6
        https://techcrunch.com/2024/03/30/att-reset-account-passcodes-customer-data/ (last visited April
28    17, 2024).
      7
          https://about.att.com/story/2024/addressing-data-set-released-on-dark-web.html (last visited
      April 17, 2024).
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 1            C.      Consequences of the AT&T Data Breach

 2            22.     The potential consequences of the Data Breach are substantial. Plaintiffs and Class

 3    members face a heightened risk that identity thieves will open financial accounts in their names,

 4    open credit cards in their names, use their information to obtain government benefits, file fraudulent

 5    tax returns to obtain tax refunds, obtain driver’s licenses or identification cards in their names, gain

 6    employment in their names, obtain medical services in their names, or give false information to

 7    police during an arrest. Hackers also commonly sell personal information to other criminals to

 8    enable them to misuse the information.

 9            23.     Private information is valuable property. Its value is axiomatic, considering the

10    market value and profitability of “Big Data” corporations in America. Illustratively, Alphabet Inc.,

11    the parent company of Google, reported in its 2020 Annual Report a total annual revenue of $182.5

12    billion and net income of $40.2 billion. $160.7 billion of this revenue derived from Alphabet’s

13    Google business, which is driven almost exclusively by leveraging the private information it

14    collects about the users of its various free products and services.

15            24.     Criminal law also recognizes the value of PII and the serious nature of its theft by

16    imposing prison sentences on cyber thieves, who can earn significant revenue through stealing PII.

17    Once a cybercriminal has unlawfully acquired personal data, the criminal can demand a ransom or

18    blackmail payment for its destruction, use the information to commit fraud or identity theft, or sell

19    the PII to another cybercriminal on a thriving black market. Cybercriminals use “ransomware” to

20    make money and harm victims. Ransomware is a widely known and foreseeable malware threat in
21    which a cybercriminal encrypts a victim’s computer such that the computer’s owner can no longer

22    access any files or use the computer in any way. The cybercriminal then demands a payment for

23    the decryption key. Ransomware is typically propagated through phishing, spear phishing, or

24    visiting a malicious or compromised website that contains a virus or other malware.

25            25.     Once stolen, PII can be used in a number of different ways. One of the most common

26    is to offer it for sale on the “dark web,” a heavily encrypted part of the Internet that makes it difficult
27    for authorities to detect the location or owners of a website. The dark web is not indexed by normal

28    search engines such as Google and is only accessible using a Tor browser (or similar tool), which

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 1    aims to conceal users’ identities and online activity. The dark web is notorious for hosting

 2    marketplaces selling illegal items such as weapons, drugs, and PII. Websites appear and disappear

 3    quickly on the dark web, making it a dynamic environment.

 4            26.     Recently, the Organization for Economic Cooperation and Development estimated

 5    the prices for various elements of personal data: $0.50 for an address, $2 for birthdate, $8 for a

 6    Social Security number, $3 for a driver’s license number, and $35 for a military record. The value

 7    of personal data continues to be high: a personal email can be worth $89, a complete health care

 8    record $250, and a hacked Facebook account can sell for $65 on the dark web. Similarly, a 2019

 9    report found that data generated from an adult is worth roughly $35 per month.

10            27.     The FTC recommends that identity theft victims take several steps to protect their

11    personal information after a data breach, including contacting one of the credit bureaus to place a

12    fraud alert (and to consider an extended fraud alert that lasts for seven years if identity theft occurs),

13    reviewing their credit reports, contacting companies to remove fraudulent charges from their

14    accounts, placing a credit freeze on their credit, and correcting their credit reports.

15            28.     Cybercriminals use stolen PII such as social security numbers for a variety of crimes,

16    including credit card fraud, phone or utilities fraud, and bank/finance fraud. Identity thieves can

17    also use social security numbers to obtain a driver’s license or other official identification card in

18    the victim’s name, but with the thief’s picture; use the victim’s name and social security number to

19    obtain government benefits; or file a fraudulent tax return using the victim’s information. In

20    addition, identity thieves may obtain a job using the victim’s social security number, rent a house
21    or receive medical services in the victim’s name, seek unemployment or other benefits, and may

22    even give the victim’s PII to police during an arrest resulting in an arrest warrant being issued in

23    the victim’s name. Obtaining a new social security number is difficult and rarely occurs.

24            29.     Furthermore, data breaches that expose any personal data directly and materially

25    increase the chance that a potential victim is targeted by a spear phishing attack in the future. Spear

26    phishing results in a high rate of identity theft, fraud, and extortion.
27
28

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 1             30.     Unfortunately for Plaintiffs and Class members, a person whose personal

 2    information has been compromised may not fully experience the effects of the data breach for years

 3    to come:

 4             [L]aw enforcement officials told us that in some cases, stolen data may be held for
               up to a year or more before being used to commit identify theft. Further, once stolen
 5             data have been sold or posted on the Web, fraudulent use of that information may
               continue for years. As a result, studies that attempt to measure the harm resulting
 6             from data breaches cannot necessarily rule out all future harm.8
 7             31.     As a result of the Data Breach, Plaintiffs and Class members have and will continue

 8    to incur out-of-pocket costs and expenses for, among other things, purchasing credit monitoring

 9    services, credit freezes, credit reports, and/or other protective measures to deter and detect identity

10    theft. Plaintiffs and Class members have and will continue to spend time, resources, and money to

11    mitigate their damages from the Data Breach, and they remain at a heightened and imminent risk

12    of fraud and identity theft. Plaintiffs and Class members must now and in the future closely monitor

13    their bank accounts and credit card accounts to guard against the risk of identity theft.

14             32.     Protections that are necessary to users whose security was hacked include identity

15    theft and credit monitoring, which tends to cost roughly $18 to $30 per month, and identity theft

16    insurance, which ranges from $25 to $60 per year, if not more.

17             33.     In sum, the costs to date of AT&T’s negligent handling of consumers’ information

18    are significant, ranging from intangible loss of privacy to tangible financial harm, both known and

19    unknown. Meanwhile, a user taking reasonable precautions to obtain identity theft and credit

20    monitoring and identity theft insurance would have to spend between $241 and $420 per year.
21             34.     At all relevant times, AT&T knew, or reasonably should have known, of the

22    importance of safeguarding customers’ personal information and the reasonably foreseeable

23    consequences that would occur if its data systems were breached, including, specifically, the

24    significant costs that would be imposed on consumers as a result of a breach.

25             35.     The Data Breach was a direct and proximate result of AT&T’s failure to properly

26    safeguard and protect Plaintiffs’ and Class members’ PII from unauthorized access, use, and
27    disclosure, as required by various state and federal regulations, industry practices, and the common

28    8
          https://www.gao.gov/new.items/d07737.pdf (last visited April 17, 2024).

                                                      8                           CLASS ACTION COMPLAINT
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 1     law, including AT&T’s failure to establish and implement appropriate technical safeguards to

 2     ensure the security and confidentiality of Plaintiffs’ and the Class members’ PII to protect against

 3     reasonably foreseeable threats to its security or integrity.

 4            36.     AT&T’s wrongful actions and inaction directly and proximately caused the theft

 5     and dissemination to an unknown third party of Plaintiffs’ PII, causing them to suffer, and continue

 6     to suffer, economic damages and other actual harm for which they are entitled to compensation,

 7     including:

 8                    a.      theft of their PII;

 9                    b.      costs for credit monitoring services;

10                    c.      the imminent and certainly impending injury flowing from potential fraud

11            and identity theft posed by their PII being placed in the hands of criminals and already

12            misused via the sale of Plaintiffs’ and Class members’ PII on the dark web;

13                    d.      the improper disclosure of their data;

14                    e.      loss of privacy;

15                    f.      ascertainable losses in the form of out-of-pocket expenses and the value of

16            their time reasonably incurred to remedy or mitigate the effects of the Data Breach;

17                    g.      ascertainable losses in the form of deprivation of the value of their PII, for

18            which there is a well-established national and international market;

19                    h.      the loss of productivity and value of their time spent to address, attempt to

20            ameliorate, mitigate, and deal with the actual and future consequences of the Data Breach,
21            including finding fraudulent charges, cancelling and reissuing cards, purchasing credit

22            monitoring and identity theft protection services, imposition of withdrawal and purchase

23            limits on compromised accounts, changing the information used to verify their identity to

24            information not subject to this Data Breach, and the stress, nuisance and annoyance of

25            contending with all such issues resulting from the Data Breach.

26                                         CLASS ACTION ALLEGATIONS
27            37.     Plaintiffs bring this action on behalf of themselves and as a class action under Fed.

28     R. Civ. P. 23(b)(2) and (b)(3) on behalf of:

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 1            All natural persons residing in the United States whose personal information was
              accessed as a result of the AT&T data breach (the “Class”).
 2
              38.     Plaintiffs also bring this action on behalf of:
 3
              All natural persons residing in California whose personal information was accessed
 4            as a result of the AT&T data breach (the “California Subclass”).

 5            39.     The members of the Class are so numerous that joinder of all members is

 6     impracticable. While the exact number of class members is unknown to plaintiff at this time and

 7     can only be ascertained through appropriate discovery, Plaintiffs believe there are 75 million

 8     members of the Class. The identities of absent members of the Class are ascertainable because they

 9     may be identified from records maintained by AT&T and may be notified of the pendency of this

10     action by mail, using a form notice similar to that customarily used in consumer class actions.

11            40.     There are questions of law and fact common to the Class, including:

12                    a.      Whether AT&T’s response to the Data Breach fell below
13            commercially reasonable standards with respect to the protection of that
14            information;
15                    b.      Whether AT&T implemented and maintained reasonable security
16            procedures and practices appropriate to storing Plaintiffs’ and Class members’
17            personal information;
18                    c.      Whether AT&T acted negligently in connection with its monitoring
19            and protection of Plaintiffs and Class members’ personal information;
20                    d.      Whether the data breach was made possible by AT&T’s substandard
21            data security measures and practices;
22                    e.      Whether AT&T adequately addressed and fixed the vulnerability
23            that permitted the Data Breach to occur;
24                    f.      Whether Plaintiffs and other Class members are entitled to credit
25            monitoring and other monetary relief;
26                    g.      Whether AT&T violated California consumer privacy and unfair
27            competition laws; and
28                    h.      The appropriate Class-wide measure of damages.

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 1             41.     At the time of the Data Breach, Plaintiffs and Class members had their personal

 2     information stored on AT&T’s servers. Plaintiffs’ claims are typical of the claims of the Class, and

 3     Plaintiffs will fairly and adequately protect the interests of that Class.

 4             42.     The questions of law and fact common to the members of the Class predominate

 5     over any questions affecting only individual members, including legal and factual issues relating to

 6     liability and damages.

 7             43.     Plaintiffs are represented by counsel who are competent and experienced in the

 8     prosecution of class action litigation.

 9             44.     The prosecution of separate actions by individual members of the Class would also

10     create a risk of inconsistent or varying adjudications, establishing incompatible standards of

11     conduct for AT&T.

12             45.     A class action is superior to other available methods for the fair and efficient

13     adjudication of this controversy. Individual claims are likely too small to prosecute economically

14     on an individual basis. Prosecution as a class action will eliminate the possibility of repetitious

15     litigation. Treatment as a class action will permit a large number of similarly situated persons to

16     adjudicate their common claims in a single forum simultaneously, efficiently, and without the

17     duplication of effort and expense that numerous individual actions would engender. This class

18     action presents no difficulties in management that would preclude maintenance as a class action.

19                                               CLAIMS FOR RELIEF

20                                            FIRST CLAIM FOR RELIEF
21                                                  Breach of Contract

22                                        (On Behalf of the Nationwide Class)

23             46.     Plaintiffs, on behalf of themselves and the Class, incorporate and re-allege the

24     preceding paragraphs of the complaint.

25             47.     AT&T’s Privacy Notice is an agreement between AT&T and its customers who

26     provided their PII to AT&T, including Plaintiffs and Class members.
27             48.     AT&T’s Privacy Notice states, among other things, that it applies to “AT&T

28     products and services including internet, wireless, voice and AT&T apps” and the Privacy Notice

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 1     “explains how we use your information and keep it safe.”9 According to AT&T, it collects

 2     “personal information” that “can reasonably be linked to you as an identifiable person or

 3     household.” The Privacy Notice states that AT&T “work[s] hard to safeguard your information

 4     using technology controls and organizational controls,” that AT&T “protect[s] our computer

 5     storage and network equipment,” and AT&T “limit[s] access to personal information to the people

 6     who need access for their jobs.”10 AT&T further promised that it would only share certain data

 7     under specific enumerated circumstances, which includes “with your consent” or with AT&T

 8     companies and its affiliates for specified purposes such as identity verification, providing a service,

 9     and for advertising and marketing. None of the enumerated circumstances involve sharing class

10     members’ PII with a criminal hacker. In addition, AT&T states that “[i]f a breach occurs, we’ll

11     notify you as required by law.”

12            49.     AT&T’s Privacy Notice also provides for data-retention policies. It states:

13            We keep your information as long as we need it for business, tax or legal purposes.
              We set our retention periods based on things like what type of personal information
14            it is, how long it’s needed to operate the business or provide our products and
              services, and whether it’s subject to contractual or legal obligations. These
15            obligations might be ongoing litigation, mandatory data retention laws or
              government orders to preserve data for an investigation. After that, we destroy it by
16            making it unreadable or indecipherable.11
17            50.     Plaintiffs and Class members provided their PII to AT&T when they, among other

18     things, used AT&T’s services and purchased products from AT&T. Consequently, Plaintiffs and

19     Class members who transacted with AT&T manifested their willingness to enter into a bargain with

20     AT&T and intention to assent to the terms of the Privacy Notice by providing their PII to AT&T.
21            51.     Conversely, AT&T, in collecting Plaintiffs’ and Class members’ PII, manifested its

22     intent to adhere to its obligations under the Privacy Notice, including “work[ing] hard to safeguard

23     your information using technology controls and organizational controls.”

24            52.     Plaintiffs and Class members on the one hand and AT&T on the other formed

25     contracts when Plaintiffs and Class members provided PII to AT&T subject to its Privacy Notice.

26
27
       9
28       https://about.att.com/privacy/privacy-notice.html (last visited April 17, 2024).
       10
          Id.
       11
         https://about.att.com/privacy/privacy-notice.html#data-retention (last visited April 17, 2024).
                                                    12                           CLASS ACTION COMPLAINT
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 1            53.     Plaintiffs and Class members fully performed their obligations under the contracts

 2     with AT&T.

 3            54.     AT&T breached its agreement with Plaintiffs and Class members by failing to

 4     protect their PII. Specifically, AT&T (1) failed to take reasonable steps to use safe and secure

 5     systems to protect that information; (2) disclosed that information to unauthorized third parties; and

 6     (3) failed to promptly alert or give notice of the breach as required by law.

 7            55.     AT&T further breached its agreement with Plaintiffs and Class members who are

 8     former AT&T customers by failing to comply with its promised data-retention policies. AT&T

 9     failed to destroy the data as promised, compromising the sensitive PII of Plaintiffs and Class

10     members.

11            56.     As a direct and proximate result AT&T’s breaches of contract, Plaintiffs and Class

12     members sustained actual losses and damages as described in detail above, and are also entitled to

13     recover nominal damages.

14                                         SECOND CLAIM FOR RELIEF

15                                                     Negligence

16                                       (On Behalf of the Nationwide Class)

17            57.     Plaintiffs, on behalf of themselves and the Class, incorporate and re-allege the

18     preceding paragraphs of the complaint.

19            58.     AT&T owed a duty to Plaintiffs and the Class members to exercise reasonable care

20     in obtaining, retaining securing, safeguarding, deleting and protecting their PII. This duty included
21     designing, maintaining, monitoring and testing AT&T’s security systems and protocols to ensure

22     that Class members’ PII was protected; implementing processes that would detect a breach of its

23     security system in a timely manner; timely acting upon warnings and alerts, including those

24     generated by its own security systems, regarding intrusions to its networks; and maintaining data

25     security measures consistent with industry standards. AT&T’s duty rose independently of any

26     contract.
27
28

                                                     13                            CLASS ACTION COMPLAINT
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 1             59.     In providing their PII, Plaintiffs and Class members had a reasonable expectation

 2     that this information would be securely maintained and not easily accessible to, or exfiltrated by

 3     cybercriminals.

 4             60.     AT&T had a common law duty to prevent foreseeable harm to others. Plaintiffs and

 5     Class members were the foreseeable and probable victims of any inadequate security practices. It

 6     was foreseeable that Plaintiffs and Class Members would be harmed by the failure to protect their

 7     PII because hackers are known to routinely attempt to steal such information and use it for nefarious

 8     purposes.

 9             61.     AT&T also had a duty to use reasonable security measures required under Section

10     5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45(a), which prohibits “unfair .

11     . . practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

12     practice of failing to use reasonable measures to protect consumers’ PII.

13             62.     AT&T had a special relationship with Plaintiffs and Class members because it was

14     entrusted with their personal information, which provided an independent duty of care. AT&T had

15     a duty to use reasonable security measures because it undertook to collect, store, and use

16     consumers’ PII. AT&T was solely responsible for and in the position to ensure that its systems

17     were sufficient to protect against the foreseeable risk of harm to Plaintiffs and Class members from

18     a resulting data breach.

19             63.     AT&T also had a duty to safeguard the PII of Plaintiffs and Class members and to

20     promptly notify them of a breach because of state laws and statutes that require AT&T to reasonably
21     safeguard sensitive personal information, as alleged herein.

22             64.     Timely notification of the breach was required so that, among other things, Plaintiffs

23     and Class members could take measures to freeze or lock their credit profiles, avoid unauthorized

24     charges to their credit or debit card accounts, cancel or change usernames and passwords on

25     compromised accounts, monitor their account information and credit reports for fraudulent activity,

26     contact their banks or other financial institutions that issue their credit or debit cards, obtain credit
27     monitoring services, and take other steps to try to prevent identify theft.

28

                                                       14                            CLASS ACTION COMPLAINT
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 1             65.     Class members whose information was stored on AT&T’s servers have an interest

 2     in the protection of their PII.

 3             66.     AT&T breached its duty to exercise reasonable care in protecting Plaintiffs’ and

 4     Class members’ PII by:

 5                     a.      Failing to adopt, implement, and maintain adequate security measures to

 6             safeguard Plaintiffs and Class members’ PII, including failing to use sufficient encryption;

 7                     b.      Failing to adequately monitor the security of its networks and systems,

 8             including a failure to identify that the breached data set belonged to AT&T in 2021;

 9                     c.      Allowing unauthorized access to and exfiltration of Plaintiffs and Class

10             members’ PII; and

11                     d.      Failing to provide timely notice by delaying for almost three years since the

12             breach began, that Plaintiffs and Class members’ PII had been compromised so those at risk

13             could take timely and appropriate steps to mitigate the potential for identity theft and other

14             damages.

15             67.     Plaintiffs and Class members were the foreseeable victims of AT&T’s inadequate

16     and ineffectual cybersecurity. The natural and probable consequence of AT&T failing to adequately

17     secure its information networks was Plaintiffs’ and Class members’ PII being hacked.

18             68.     AT&T knew or should have known that Plaintiffs’ and Class members’ PII was an

19     attractive target for cyber thieves, particularly in light of data breaches experienced by other entities

20     around the United States. Moreover, the harm to Plaintiffs and Class members from exposure of
21     their highly confidential personal facts was reasonably foreseeable to AT&T.

22             69.     It was foreseeable to AT&T that their failure to use reasonable measures to protect

23     Plaintiffs and Class members’ PII, including when it warned its systems and networks were

24     vulnerable to cyberattack, would result in injury to Plaintiffs and Class members. Further, the

25     breach of security was reasonably foreseeable given the known high frequency of ransomware

26     attacks and data breaches.
27
28

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 1            70.     It was also foreseeable to AT&T that its failure to timely notify customers of the

 2     breach by delaying almost three years would result in Plaintiffs and Class members not being

 3     afforded the ability to timely safeguard their identities.

 4            71.     There is a close connection between AT&T’s failure to employ reasonable security

 5     protections for the PII and the injuries suffered by Plaintiffs and Class members. When individuals’

 6     sensitive personal information is stolen, they face a heightened risk of identity theft and may need

 7     to: (1) purchase identity protection, monitoring, and recovery services; (2) flag asset, credit, and

 8     tax accounts for fraud, including by reporting the theft of their Social Security numbers to financial

 9     institutions, credit agencies, and the IRS; (3) purchase or otherwise obtain credit reports; (4)

10     monitor credit, financial, utility, explanation of benefits, and other account statements on a monthly

11     basis for unrecognized credit inquiries and charges; (5) place and renew credit fraud alerts on a

12     quarterly basis; (6) contest fraudulent charges and other forms of identity theft; (7) repair damage

13     to credit and financial accounts; and (8) take other steps to protect themselves and attempt to avoid

14     or recover from identity theft and fraud.

15            72.     The policy of preventing future harm disfavors application of the economic loss rule,

16     particularly given the sensitivity of the PII entrusted to AT&T. AT&T had an independent duty in

17     tort to protect this information and thereby avoid reasonably foreseeable harm to Plaintiffs and

18     Class members.

19            73.     AT&T’s negligence was gross, willful, wanton, and reprehensible and warrants the

20     imposition of punitive damages given the clear foreseeability of a hacking incident, the extreme
21     sensitivity of the private information under AT&T’s care, and its failure to notify of the victims for

22     almost three years following when news of the Data Breach first surfaced.

23            74.     Plaintiffs and the Class have suffered injury in fact and a loss of money or property

24     in the following ways:

25                    a.        They have had their present and future property interest in their

26            personally information diminished;
27                    b.        They have been deprived of control over their personal information;

28

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 1                     c.      They may be required to incur the expense of credit report freezes,

 2              credit and identity theft monitoring, and identity theft insurance; and

 3                     d.      They are at imminent risk of future harm from identity theft.

 4              75.    The damages to Plaintiffs and Class members were a proximate, reasonably

 5     foreseeable result of AT&T’s breach of its duties to safeguard the consumers’ PII it was entrusted

 6     to keep.

 7              76.    Plaintiffs and Class members are entitled to damages in an amount to be proven at

 8     trial.

 9                                            THIRD CLAIM FOR RELIEF

10                                 Violation of the California Consumer Privacy Act

11                                          Cal. Civil Code §§ 1798.100 et seq.

12                                        (On Behalf of the California Subclass)

13              77.    Plaintiffs, on behalf of themselves and the California Subclass, incorporate and re-

14     allege the preceding paragraphs of the complaint.

15              78.    Section 1798.150(a)(1) of the CCPA provides, “[a]ny consumer whose

16     nonencrypted or nonredacted personal information, as defined [by California Civil Code section

17     1798.81.5(d)(1)(A)] is subject to an unauthorized access and exfiltration, theft, or disclosure as a

18     result of the business’s violation of the duty to implement and maintain reasonable security

19     procedures and practices appropriate to the nature of the information to protect the personal

20     information may institute a civil action for” statutory or actual damages, injunctive or declaratory
21     relief, and any other relief the court deems proper.

22              79.    Plaintiffs and California Subclass members are consumers and California residents

23     as defined by California Civil Code section 1798.140(i).

24              80.    AT&T is a “business” as defined by California Civil Code section 1798.140(d)

25     because it is a “sole proprietorship, partnership, limited liability company, corporation, association,

26     or other legal entity that is organized or operated for the profit or financial benefit of its shareholders
27     or other owners, that collects consumers’ personal information, or on the behalf of which such

28     information is collected and that alone, or jointly with others, determines the purposes and means

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 1     of the processing of consumers’ personal information, that does business in the State of California.”

 2     In addition, AT&T has annual gross revenues in excess of $25 million, receives the personal

 3     information of 100,000 or more consumers or households, and/or derives 50 percent of their annual

 4     revenue from selling or sharing consumers’ personal information. AT&T is therefore subject to the

 5     CCPA.

 6             81.     AT&T collects personal information from, among other sources, consumers who

 7     request information from them, consumers who use their services, including users of their mobile

 8     applications, and consumers who submit customer support requests. This PII includes information

 9     defined as “sensitive” under the CCPA.

10             82.     AT&T violated Section 1798.150 of the California Consumer Privacy Act by failing

11     to prevent plaintiff and the California Subclass members’ nonencrypted and nonredacted personal

12     information from unauthorized access and exfiltration, theft, or disclosure as a result of AT&T’s

13     violation of its duty to implement and maintain reasonable security procedures and practices

14     appropriate to the nature of the information. The Data Breach described herein exposed, without

15     limitation, full names, email addresses, mailing addresses, phone numbers, Social Security

16     numbers, dates of birth, AT&T account numbers, and AT&T passcodes, as well as other personal

17     information provided to AT&T.

18             83.     AT&T knew or should have known that its data security practices were inadequate

19     to secure California Subclass members’ PII and that its inadequate data security practices gave rise

20     to the risk of a data breach.
21             84.     AT&T failed to implement and maintain reasonable security procedures and

22     practices appropriate to the nature of the personal information it collected and stored.

23             85.     Plaintiff seeks injunctive relief in the form of an order requiring AT&T to employ

24     adequate security practices consistent with law and industry standards to protect the California

25     Subclass members’ personal information, requiring AT&T to complete its investigation, and to

26     issue an amended statement giving a detailed explanation that confirms, with reasonable certainty,
27     what categories of data were stolen and accessed without the California Subclass members’

28     authorization, along with an explanation of how the data breach occurred.

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 1            86.     Plaintiff presently seeks only injunctive relief and any other relief the Court may

 2     deem proper pursuant to this section. Prior to initiating a claim for statutory damages, Plaintiffs

 3     served a written notice on April 17, 2024 identifying AT&T’s violations of Cal. Civil Code §

 4     1798.150(a) and demanding the Data Breach be cured. If within 30 days AT&T has not cured,

 5     Plaintiffs will amend this Complaint to seek statutory damages pursuant to Cal. Civil Code §

 6     1798.150(a)(1)(A).

 7                                        FOURTH CLAIM FOR RELIEF

 8                                Violation of California’s Customer Records Act

 9                                        Cal. Civil Code §§ 1798.80, et seq.

10                                     (On Behalf of the California Subclass)

11            87.     Plaintiffs, on behalf of themselves and the California Subclass, incorporate and re-

12     allege the preceding paragraphs of the complaint.

13            88.     “[T]o ensure that Personal Information about California residents is protected,” the

14     California legislature enacted Cal. Civ. Code § 1798.81.5, which requires that any business that

15     “owns, licenses, or maintains Personal Information about a California resident shall implement and

16     maintain reasonable security procedures and practices appropriate to the nature of the information,

17     to protect the Personal Information from unauthorized access, destruction, use, modification, or

18     disclosure.”

19            89.     Plaintiffs and California Subclass members are “customers” within the meaning of

20     California Civil Code section 1798.80(c), as they provided personal information to AT&T for the
21     purpose of obtaining services from AT&T.

22            90.     AT&T is a business within the meaning of Cal. Civ. Code § 1798.81.5 that owns,

23     maintains, and licenses personal information about Plaintiffs and California Subclass members.

24            91.     Businesses that own or license computerized data that includes personal

25     information, including Social Security numbers, are required to notify California residents when

26     their personal information has been acquired (or is reasonably believed to have been acquired) by
27     unauthorized persons in a data security breach “in the most expedient time possible and without

28     unreasonable delay.” Cal. Civ. Code § 1798.82. Among other requirements, the security breach

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 1     notification must include “the types of Personal Information that were or are reasonably believed

 2     to have been the subject of the breach.” Cal. Civ. Code § 1798.82.489.

 3            92.    AT&T is a business that owns or licenses computerized data that includes personal

 4     information as defined by Cal. Civ. Code § 1798.82.490. Plaintiff and California Subclass

 5     members’ personal information (e.g., Social Security numbers) includes personal information as

 6     covered by Cal. Civ. Code § 1798.82.

 7            93.    The Data Breach constitutes a breach of security within the meaning of section

 8     1798.82. PII stolen in the Data Breach, such as full names, email addresses, mailing addresses,

 9     phone numbers, Social Security numbers, dates of birth, AT&T account numbers, and AT&T

10     passcodes, as well as other information, constitutes “personal information” within the meaning of

11     section 1798.80(e).

12            94.    Because AT&T knew that Plaintiffs’ and California Subclass members’ personal

13     information was acquired by unauthorized persons during the AT&T data breach, AT&T had an

14     obligation to disclose the AT&T data breach in a timely and accurate fashion as mandated by Cal.

15     Civ. Code § 1798.82. By failing to disclose the AT&T data breach in a timely and accurate manner,

16     AT&T violated Cal. Civ. Code § 1798.82. As a direct and proximate result of AT&T’s violations

17     of the Cal. Civ. Code §§ 1798.81.5 and 1798.82, Plaintiffs and California Subclass members

18     suffered damages, as described above.

19            95.    Plaintiffs and California Subclass members seek relief under Cal. Civ. Code §

20     1798.84, including actual damages and injunctive relief.
21                                         FIFTH CLAIM FOR RELIEF

22                           Violation of California’s Unfair Competition Law (“UCL”),

23                                    Cal. Bus. & Prof. Code §§ 17200, et seq.

24                                     (On Behalf of the California Subclass)

25            96.    Plaintiffs, on behalf of themselves and the California Subclass, incorporate and re-

26     allege the preceding paragraphs of the complaint.
27            97.    AT&T has engaged in unlawful, unfair and deceptive practices, including:

28

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 1                   a.      Failing to implement and maintain reasonable security and privacy

 2            measures to protect plaintiff and California Subclass members’ personal

 3            information, which was a direct and proximate cause of the AT&T data breach;

 4                   b.      Failing to identify foreseeable security and privacy risks, remediate

 5            identified security and privacy risks, and adequately improve security and privacy

 6            measures, which was a direct and proximate cause of the AT&T data breach;

 7                   c.      Failing to comply with common law and statutory duties pertaining

 8            to the security and privacy of Plaintiffs’ and California Subclass members’ personal

 9            information, including duties imposed by the FTC Act, 15 U.S.C. § 45, which was

10            a direct and proximate cause of the AT&T data breach;

11                   d.      Misrepresenting that it would protect the privacy and confidentiality

12            of Plaintiffs’ and California Subclass members’ personal information, including by

13            implementing and maintaining reasonable data security measures;

14                   e.      Misrepresenting that it would comply with common law and

15            statutory duties pertaining to the security and privacy of Plaintiffs’ and California

16            Subclass members’ personal information, including duties imposed by the FTC

17            Act, 15 U.S.C. § 45.

18                   f.      Omitting, suppressing, and concealing the material fact that it did

19            not reasonably or adequately secure Plaintiffs’ and California Subclass members’

20            personal information; and
21                   g.      Omitting, suppressing, and concealing the material fact that it did

22            not comply with common law and statutory duties pertaining to the security and

23            privacy of plaintiff and California Subclass members’ personal information,

24            including duties imposed by the FTC Act.

25            98.    Plaintiffs and the California Subclass members have suffered injury in fact and a

26     loss of money or property in the following ways:
27                   a.      They have had their present and future property interest in their PII

28            diminished;

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 1                    b.      They have been deprived of the exclusive use of their PII;

 2                    c.      They may be required to incur expenses in connection with

 3            obtaining credit report freezes, credit and identity theft monitoring, and identity

 4            theft insurance; and

 5                    d.      They are at imminent risk of future harm from identity theft.

 6            99.     AT&T’s actions were unlawful in that they violated the FTC Act, 15 U.S.C. § 45(n)

 7     (allowing the FTC to declare unlawful an act or practice that “causes or is likely to cause substantial

 8     injury to consumers which is not reasonably avoidable by consumers themselves and not

 9     outweighed by countervailing benefits to consumers or to competition”).

10            100.    AT&T’s actions were also fraudulent in that they represented a standard of care that

11     it knew or should have known to be false.

12            101.    Had AT&T disclosed to Plaintiffs and California Subclass members that its data

13     systems were not secure and, thus, vulnerable to attack, AT&T would have been unable to continue

14     in business and it would have been forced to adopt reasonable data security measures and comply

15     with the law. Instead, AT&T was trusted with sensitive and valuable personal information of

16     millions of consumers, including Plaintiffs and California Subclass members. AT&T accepted the

17     responsibility of maintaining consumer data while keeping the inadequate state of its security

18     controls secret from the public.

19            102.    AT&T had a duty to disclose the above-described facts due to the circumstances of

20     this case, the sensitivity of the personal information in its possession, and the generally accepted
21     professional standards in the telecommunications industry. Such a duty is also implied by law due

22     to the nature of the relationship between consumers—including Plaintiffs and the California

23     Subclass—and AT&T, because consumers are unable to fully protect their interests with regard to

24     the personal information in AT&T’s possession, and place trust and confidence in AT&T. AT&T’s

25     duty to disclose also arose from its:

26                    a.      Possession of exclusive knowledge regarding the security of
27            consumers’ data stored in its systems;

28                    b.      Active concealment of the state of its security; and/or

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 1                    c.       Incomplete representations about the security and integrity of its

 2            computer and data systems, while purposefully withholding material facts from

 3            Plaintiffs and Class members that contradicted these representations.

 4            103.    As a direct and proximate result of AT&T’s unfair and deceptive acts or practices,

 5     Plaintiffs and California Subclass members have suffered and will continue to suffer injury,

 6     ascertainable losses of money or property, and monetary and non-monetary damages, including

 7     from fraud and identity theft; time and expenses related to monitoring their financial accounts for

 8     fraudulent activity; an increased, imminent risk of fraud and identity theft; and loss of value of their

 9     personal information.

10            104.    Plaintiffs and California Subclass members are entitled to restitution in the form of

11     the diminished value of the personal information that was entrusted to AT&T.

12                                           PRAYER FOR RELIEF

13            WHEREFORE, Plaintiffs pray as follows:

14            A.      Certifying this case as a class action, appointing Plaintiffs as Class representatives,

15     and appointing interim class counsel to represent the Class;

16            B.      Entering judgment for Plaintiffs and the Class;

17            C.      Awarding Plaintiffs and Class members actual damages, compensatory damages,

18     punitive damages, statutory damages, and statutory penalties, in an amount to be determined, as

19     allowable by law;

20            D.      Ordering appropriate injunctive relief;
21            E.      Awarding pre- and post-judgment interest according to law;

22            F.      Awarding reasonable attorneys’ fees and costs as permitted by law;

23            G.      Granting such further and other relief as may be just and proper.

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 1     Dated: April 18, 2024                   SHAWN J. RABIN
                                               KRYSTA KAUBLE PACHMAN
 2
                                               MICHAEL GERVAIS
 3
                                               SUSMAN GODFREY L.L.P.
 4
 5                                             By:   /s/ Shawn J. Rabin
 6                                                   Shawn J. Rabin
                                                     Attorneys for Plaintiffs
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 1                                       DEMAND FOR JURY TRIAL
 2            Plaintiff requests a jury trial on all matters so triable.
 3
 4     Dated: April 18, 2024                                SHAWN J. RABIN
                                                            KRYSTA KAUBLE PACHMAN
 5                                                          MICHAEL GERVAIS
 6                                                          SUSMAN GODFREY L.L.P.
 7
 8                                                          By:   /s/ Shawn J. Rabin
                                                                  Shawn J. Rabin
 9                                                                Attorneys for Plaintiffs
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